                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

VAZQUEZ COMMERCIAL CONTRACTING, LLC,                           )
                                                               )
                                              Plaintiff,       )
                                                               )
       v.                                                      ) No. 4:20-cv-00486-DGK
                                                               )
ZIESON CONSTRUCTION COMPANY, LLC, et al.,                      )
                                                               )
                                               Defendants. )

        MOTION TO DISMISS UNDER FED. R. CIV. P. 12(B)(6) BY MATTHEW
                             MCPHERSON

       Defendant Matthew McPherson moves to dismiss the petition under Fed. R. Civ. P.

12(b)(6) for the reason that the petition fails to state a claim upon which relief can be granted. In

general, Plaintiff seeks damages for something to which it was never entitled, for damages in an

amount never allowed, under a standard lower than anything expected, and with a policy

rationale that would undermine the administrative review system. In support, Mr. McPherson has

filed Suggestions in Support (Doc. 72), and requests that the petition be dismissed.

       WHEREFORE, defendant Matthew McPherson requests dismissal under Fed. R. Civ. P.

12(b)(6).

                                      Respectfully submitted,

                                      By: /s/ Christopher F. Burger
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                                                                                         Page 1 of 2

            Case 4:20-cv-00486-DGK Document 71 Filed 09/11/20 Page 1 of 2
                               CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was served upon all counsel of record this
  th
11 day of September, 2020, by e-filing it into the CM/ECF system, which will automatically
deliver a copy to all counsel of record.

                                    /s/ Christopher F. Burger
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                                                                                    Page 2 of 2

         Case 4:20-cv-00486-DGK Document 71 Filed 09/11/20 Page 2 of 2
